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                             Nos. 24-5493, 24-5691

                  UNITED STATES COURT OF APPEALS
                      FOR THE NINTH CIRCUIT
                           ________________
                           NINTH INNING, INC., et al.,
                                                  Plaintiffs-Appellants/
                                                  Conditional Cross-Appellees,
                                       v.

                    NATIONAL FOOTBALL LEAGUE, INC., et al.,
                                              Defendants-Appellees/
                                              Conditional Cross-Appellants.
                              ________________
                 On Appeal from the United States District Court
                     for the Central District of California,
                          No. 2:15-ml-02668-PSG-SK
                              ________________
           REPLY IN SUPPORT OF NFL DEFENDANTS’
   MOTION FOR EXTENSION OF TIME TO FILE PRINCIPAL BRIEF
                      ________________
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March 17, 2025
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       Plaintiffs offer no valid reason for denying NFL Defendants’ motion to extend

the deadline for their principal brief to 60 days after this Court accepts Plaintiffs’

opening brief (in whatever form and length the Court deems appropriate) and files it

on the public docket. In fact, Plaintiffs do not even make clear the extent to which

they oppose NFL Defendants’ request. Plaintiffs initially represent that they “do not

oppose a reasonable extension of the NFL Defendants’ filing deadline to a date

certain,” but suggest that it would be improper for NFL Defendants’ deadline to be

linked to the resolution of Plaintiffs’ pending motion for leave to file an overlength

brief. See Dkt.94.2 at 1-2 (“Opp’n”). Elsewhere in their brief, however, Plaintiffs

concede that NFL Defendants’ filing deadline will necessarily “[d]epend[] on the

Court’s ruling on [Plaintiffs’] motion.” Opp’n at 3. And rightly so: NFL Defendants

can hardly be expected to prepare (let alone file) their answering brief when it is not

even clear whether they will be required to respond to the proposed overlength

version or a yet-to-be-seen 14,000-word version.1




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     Plaintiffs note that their motion for leave to file an overlength brief is
“unopposed,” Dkt.94.2 at 3, but that is hardly a guarantee that it will be granted.
This Court “disfavors motions to exceed the applicable page or type-volume limits,”
and grants such motions “only upon a showing of diligence and extraordinary and
compelling need.” Cir. R. 32-2(a). In all events, the motion is only unopposed
because of the professional courtesies extended by NFL Defendants. NFL
Defendants should not be punished for extending that professional courtesy by not
having an ample period to prepare their brief once this Court resolves the outstanding
motions concerning the length and content of Plaintiffs’ opening brief.
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      Given that dynamic, Plaintiffs’ insistence that NFL Defendants should agree

to file their response on an (unspecified) “date certain,” Opp’n at 1-2, makes no

sense. Indeed, this Court’s guidance expressly provides that “[a]ny order that

decides a motion [for leave to file an overlength brief] will also make adjustments

to the due date(s) for any further briefing.” Advisory Committee Note to Circuit

Rule 32-2. Accordingly, there can be no serious dispute that NFL Defendants are

entitled to a reasonable amount of time in which to prepare their brief after Plaintiffs’

opening brief is accepted for filing. See id.

      The only question, then, is how much time is appropriate. The requested

period—60 days—is eminently reasonable under the circumstances of this case.

Plaintiffs had nearly five months to prepare their opening brief, including a 44-day

extension (which NFL Defendants did not oppose) that Plaintiffs justified by citing

“the numerous complex issues raised in the appeal.” Dkt.35.1 at 2; see Dkt.92.1 at

1 (“Mot.”).    NFL Defendants’ counsel has had numerous other personal and

professional obligations since Plaintiffs filed their proposed brief—including

motions practice that Plaintiffs themselves caused by unnecessarily including

hundreds of pages of NFL Defendants’ and third parties’ highly confidential business

information in the Excerpts of Record and then suddenly withdrawing their

longstanding consent to sealing that information. See Mot. at 3-4. Further, the

requested 60-day timeline is appropriate to give prospective amici adequate time to



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assess whether they wish to file an amicus brief in support of affirmance and, if so,

to prepare such a brief. See Mot.3.

      Plaintiffs offer no persuasive reason why NFL Defendants should receive less

than 60 days. Their observation that NFL Defendants “have always had full access

to the excerpts of record,” Opp’n.2, is beside the point; what matters is that NFL

Defendants do not yet know what opening brief they will be required to respond to.

Plaintiffs’ suggestion that prospective amici may prepare their briefs without

reviewing even the proposed opening brief, Opp’n.3, also misses the mark. While

some prospective amici may be able to obtain a provisionally sealed copy of the

proposed opening brief from the parties, the briefing schedule should afford the

general public a reasonable amount of time to review the actual opening brief once

it has been accepted by the Court. Notably, Plaintiffs fail to explain any way in

which they would be harmed by the proposed extension or to propose any “date

certain” or alternative length of time—much less to defend an alternative proposal.

Plaintiffs instead complain that the current timeline is “indefinite” and “beyond

[their] control,” Opp’n.1-2, but that stems entirely from their own voluntary decision

to submit a “disfavor[ed]” brief that far exceeds this Court’s word limits, Cir. R. 32-

2(a). Any such “indefiniteness” provides no basis to saddle NFL Defendants with

an unduly short timeframe to respond once the opening brief is accepted for filing.




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                               CONCLUSION

     This Court should grant NFL Defendants’ motion for an extension of time.

                                           Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE
                     WITH TYPE-VOLUME LIMITATION

      I hereby certify that:

      1. This motion complies with the type-volume limitations of Circuit Rules 27-

1 and 32-3 because it has been prepared in a proportionally spaced font and the total

number of words—excluding the parts of the motion exempted by Federal Rules of

Appellate Procedure 27(a)(2)(B) and 32(f)—is 773. That word count, “divided by

280” equals 2.76, which “does not exceed” the number of pages prescribed by

Circuit Rule 27-1 (i.e., 10). See Cir. R. 32-3.

      2. This motion complies with the typeface requirements of Federal Rule of

Appellate Procedure 32(a)(5) and the typestyle requirements of Federal Rule of

Appellate Procedure 32(a)(6) because it has been prepared in a proportionally spaced

typeface using Microsoft Word 2016 in 14-point font.

March 17, 2025

                                                    s/Paul D. Clement
                                                    Paul D. Clement
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                        CERTIFICATE OF SERVICE

      I hereby certify that on March 17, 2025, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the Ninth

Circuit by using the ACMS system. I certify that all participants in this case are

registered ACMS users and that service will be accomplished by the ACMS system.

                                                   s/Paul D. Clement
                                                   Paul D. Clement
